‘AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.

JOSE BAYONA Case Number: CR 11-4013-1

(1 Revocation of Probation USM Number: 11433-029
HH Revocation of Supervised Release Christopher J Roth
CI) Modification of Supervision Conditions Defendant's Attorney

[CL] AMENDED REVOCATION JUDGMENT
Date of Most Recent Judgment:

THE DEFENDANT:
BB admitted guilt to violation(s) as listed below of the term of supervision.
C] was found in violation of after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended

1, 8a-h Failure to Comply with Drug Testing 01/03/2023

2 Use of a Controlled Substance 04/21/2022

3a-b, 9 Use of Alcohol 12/24/2022

4a-b, 10a-d Failure to Comply with Remote Alcohol Testing 01/02/2023

5 Travel Without Permission 09/18/2022

6 Failure to Notify of Law Enforcement Contact 09/22/2022

The defendant is sentenced as provided in pages 2 through 3. of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.

WE The defendant was not found in violation of 7 and is discharged as to such violation(s).
[] The Court did not make a finding regarding violation(s)

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposedyby this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of mater YT" in economic circumstances.

A

Leonard T. Strand
Chief United States District Court Judge
Name and Title of Judge Signature of Judge

January 31, 2023 | [3 | I2 %
Date of Imposition of Judgment Date | |

Case 5:11-cr-04013-LTS-KEM Document 160 Filed 01/31/23 Page 1 of 3
‘AO 245D_(Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

Judgment—Page 2 of 3

DEFENDANT: JOSE BAYONA
CASE NUMBER: CR 11-4013-1

PROBATION

[_ The defendant’s supervision is continued with the addition of special condition number(s):

IMPRISONMENT

[1 No imprisonment is ordered as part of this modification.

Hs The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 18 months.

HE The court makes the following recommendations to the Federal Bureau of Prisons:

It is recommended that the defendant be designated to Federal Correction Institute (FCI) in Tucson, Arizona, or a
Bureau of Prisons facility in close proximity to the defendant's family which is commensurate with the defendant's
security and custody classification needs.

The defendant is remanded to the custody of the United States Marshal.

Om

The defendant must surrender to the United States Marshal for this district:

C] at Dam [J pm. on
J as notified by the United States Marshal.

(ss The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:
C1 before 2 p.m. on
() as notified by the United States Marshal.
(J as notified by the United States Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL

Case 5:11-cr-04013-LTS-KEM Document 160 Filed 01/31/23 Page 2 of 3
“AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

Judgment—Page 3 of

DEFENDANT: JOSE BAYONA
CASE NUMBER: CR 11-4013-1

SUPERVISED RELEASE

a Upon release from imprisonment, No Term of Supervised Release is reimposed.

Case 5:11-cr-04013-LTS-KEM Document 160 Filed 01/31/23 Page 3 of 3
